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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


MICHAEL WAYNE SHIFFLETT,

            Petitioner,

v.                                 CIVIL ACTION NO. 3:05CV60 &
                                   CRIMINAL ACTION NO. 3:99CR42-6


UNITED STATES OF AMERICA,

            Respondent.


              ORDER ADOPTING REPORT AND RECOMMENDATION

       On this day   the above styled case came before the Court for

consideration of the Report and Recommendation of Magistrate Judge

James E. Seibert, filed April 12, 2006.           The Petitioner did not

file    objections     to    the    Magistrate     Judge’s    Report     and

Recommendation.

       The Court, after reviewing the above, is of the opinion that

the Magistrate Judge’s Report and Recommendation should be and is

hereby ORDERED adopted.

       The Court, therefore, ORDERS that Shifflett’s           Petition to

Vacate, Set Aside or Correct Sentence (Document No. 1) be DENIED.

It is further ORDERED that this action be DISMISSED WITH PREJUDICE

based on the reasons set forth in the Magistrate Judge’s Report and

Recommendation, and STRICKEN from the active docket of this Court.
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SHIFFLETT V. UNITED STATES                                       3:05CV60

              ORDER ADOPTING REPORT AND RECOMMENDATION



     It is so ORDERED.

     The Clerk is directed to mail a copy of this order to the pro

se petitioner, certified mail, return receipt requested, and to

transmit copies of this Order to all counsel of record.

     DATED    this 19th day of January 2007.




                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE
